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10     JONA S. RECHNITZ and RACHEL RECHNITZ
11                            UNITED STATES DISTRICT COURT
12                          CENTRAL DISTRICT OF CALIFORNIA
13
       DAVID ROVINSKY LLC, a Delaware             Case No. 2:20-cv-02580-ODW-AS
14     limited liability company,                 THIRD-PARTY DEFENDANTS JONA
15                                                S. RECHNITZ AND RACHEL
             Plaintiff,                           RECHNITZ’S EX PARTE
16                                                APPLICATION SEEKING IN
                                                  CAMERA REVIEW; MEMORANDUM
17     PETER VOUTSAS aka PETER MARCO              OF POINTS AND AUTHORITIES
       aka PETER VOUTSAS, aka PETER               [Declaration of Marc S. Williams filed
18     MARCO EXTRAORDINARY JEWELS
       OF BEVERLY HILLS, dba PETER                concurrently]
19     MARCO LLC,
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             Defendants/Third-Party Plaintiffs,
21
       vs.
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23     JONA S. RECHNITZ, an individual;
       RACHEL RECHNITZ, an individual;
24     LEVIN PARDO aka LEVON PRADO, an
       individual,
25
26           Third-Party Defendants.

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               THIRD-PARTY DEFENDANTS’ EX PARTE APPLICATION SEEKING IN CAMERA REVIEW
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1           Third-Party Defendants Jona Rechnitz and Rachel Rechnitz (the “Rechnitz
2     Defendants”), by and through their attorneys of record, Marc S. Williams, Reuven L.
3     Cohen, Brittany L. Lane, and Youngbin Son of Cohen Williams LLP, respectfully apply to
4     this Honorable Court for an order permitting the Rechnitz Defendants to submit in support
5     of the Rechnitz Defendants’ Motion for Stay of Proceedings (Dkt. 47), an in camera
6     Supplemental Declaration of counsel providing additional information regarding the
7     government’s criminal investigation. This Application is based on the attached
8     Memorandum of Points and Authorities, the concurrently-filed Declaration of Marc S.
9     Williams, all files and records in this case, and any additional evidence and argument that
10    may be presented to this Court prior to ruling on this application.
11          Pursuant to Local Rule 7-19.1, counsel for the Rechnitz Defendants contacted
12    counsel for Plaintiff David Rovinsky LLC (“Rovinsky”) and counsel for Defendants/Third-
13    Party Plaintiffs Peter Voutsas aka Peter Marco, aka Peter Marco Extraordinary Jewels of
14    Beverly Hills, dba Peter Marco LLC (“Peter Marco”) to determine whether the parties
15    oppose this application. Counsel for Rovinsky, Anthony R. Bisconti, indicated by email
16    that Rovinsky took no position on the Rechnitz Defendants’ Application. Counsel for Peter
17    Marco, Baruch C. Cohen, indicated by email that, inter alia, without seeing the
18    Supplemental Declaration that the Rechnitz Defendants seek to file in camera he could not
19    support the Application. Accordingly, he opposes the Application.
20          Rovinsky is represented by Steven Jay Katzman (skatzman@bienertkatzman.com)
21    and Anthony R. Bisconti (tbisconti@bienertkatzman.com) of Beinert Katzman PC, 601 W.
22    5th Street, Ste. 720, Los Angeles, CA 90071; telephone: (213) 528-3400. Rovinsky is also
23    represented by Jason A. Levine (jlevine@hangley.com) and Andrew E. Erdlen
24    (aerdlen@hangley.com) of Hangley Aronchick Sega Pudlin & Schiller, One Logan Square,
25    27th Floor, Philadelphia, PA 19103; telephone: (215) 568-6200.
26          Peter Marco is represented by Baruch C. Cohen
27    (baruchcohen@baruchcohenesq.com) of the Law Office of Baruch C. Cohen, A
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                    DEFENDANT’S EX PARTE APPLICATION SEEKING IN CAMERA REVIEW                       T
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1     Professional Law Corporation, 4929 Wilshire Boulevard, Suite 940, Los Angeles,
2     California 90010; telephone: (323) 937-4501.
3           The Rechnitz Defendants seek to file the Supplemental Declaration in camera
4     because it will detail sensitive, non-public information relating to an ongoing federal
5     criminal investigation, including information regarding defense strategy. The Rechnitz
6     Defendants seek permission to do so on an ex parte basis so that the information may be
7     before the Court, should it wish to consider it, when ruling on the Motion for Stay. The
8     hearing in this matter was set for June 15, 2020 at 1:30 P.M., but has since been vacated by
9     the Court, as the Court will make its determination based on the paper submissions.
10    Moreover, the Supplemental Declaration will include information learned as recent as June
11    1, 2020. For all of these reasons and as detailed below, the Rechnitz Defendants
12    respectfully apply for permission to file a Supplemental Declaration in camera.
13                                          Respectfully Submitted,
14    Dated: June 2, 2020                  COHEN WILLIAMS LLP
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16                                     By: /s/ Marc S. Williams                                  .
                                           Marc S. Williams
17
                                           Reuven L. Cohen
18                                         Brittany L. Lane
                                           Youngbin Son
19
20                                         Attorneys for Third-Party Defendants,
                                           JONA S. RECHNITZ AND RACHEL RECHNITZ
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1                      MEMORANDUM OF POINTS AND AUTHORITIES
2           In addition to the information provided in Rechnitz Defendants’ publicly-filed Reply
3     in support of their Motion for Stay of Proceedings (Dkt. 55), the Rechnitz Defendants,
4     through counsel, respectfully request the opportunity to assist the Court with its
5     consideration of the issues raised in their Motion by submitting a fuller proffer regarding
6     their knowledge and understanding of the full nature and scope of the government’s
7     criminal investigation. To do so, however, Rechnitz Defendants submit that this Court
8     should grant them permission to present this proffer, which details an ongoing federal
9     criminal investigation, in camera.
10          Local Rule 79-6.2 authorizes a party to seek approval from the Court to present a
11    document for in camera review. Rechnitz Defendants seek permission to submit this
12    detailed information in camera for the following reasons:
13          First, the information set forth in the proffer is sensitive, non-public, and relates to
14    the government’s ongoing investigation. Public revelation of the what defense counsel has
15    learned about the investigation could be detrimental to the government’s investigation.
16    More specifically, the investigation is ongoing and involves others, including witnesses,
17    subjects, and targets, in addition to or other than the Rechnitz Defendants. The Rechnitz
18    Defendants are mindful of the effect public disclosure of facts relating to an ongoing
19    criminal investigation may have and, because Mr. Rechnitz is involved in the investigation,
20    he must be cautious about providing information that others whom the government may
21    seek to interview or subpoena may learn from the Rechnitz Defendants’ filings. And there
22    is good cause to believe the information would become public knowledge. Articles
23    regarding the Rechnitz Defendants’ civil proceedings have repeatedly appeared in the
24    press, including the New York Post, in recent months. Courts have recognized that in
25    camera review of documents may be appropriate where the documents disclose sensitive
26    information that may impede a criminal investigation. See, e.g., Wabun-Inini v. Sessions,
27    900 F.2d 1234, 1247 (8th Cir. 1990) (upholding district court’s decision to review
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1     documents in camera in part because of claims that disclosure of information would
2     impede law enforcement investigation).
3           Second, the Rechnitz Defendants, who are not presently charged in a criminal case,
4     but who have been informed that a criminal investigation into allegations relating to their
5     jewelry business is active and ongoing, should not have to publicly go into detail regarding
6     the government’s investigation, which ultimately may not result in any criminal charges. A
7     granular discussion of the government’s investigation, which is not final, would serve to
8     potentially harm the Rechnitz Defendants reputationally or otherwise.
9           Third, defending against the Peter Marco allegations would require the Rechnitz
10    Defendants to reveal or provide insight into the Rechnitz Defendants’ defenses to any
11    criminal charges. Those defenses are also within the scope of the government’s criminal
12    investigation. In so presenting that information to the Court, the Rechnitz Defendants
13    would be compelled to sacrifice their Fifth and Sixth Amendment rights in order to seek a
14    stay. It is well-settled that courts may permit in camera review of documents and
15    information to protect against these concerns. See United States v. Eshkol, 108 F.3d 1025,
16    1028 (9th Cir. 1997) (approving of in camera memoranda to prevent disclosure of defense
17    theory); United States v. McKeon, 738 F.2d 26, 33 (2d Cir. 1984) (finding court should
18    allow defendant’s in camera offer of proof “where the attorney-client privilege, the
19    privilege against self-incrimination, the fear of impeachment by a prior conviction,
20    apprehension over having to change attorneys, the revelation of work product, trial tactics,
21    or legal theories of defense counsel may be involved”); United States v. Poindexter, 727 F.
22    Supp. 1470, 1479 n.16 (D.D.C. 1988) (“The Court considers the ex parte nature of the
23    showing to be appropriate at this time because it does not wish to require the defendant to
24    reveal to the prosecution the theories of his defense as a prerequisite to attempting to secure
25    the discovery to which he may be entitled.”); United States v. McVeigh, 954 F. Supp. 1441,
26    1444–45 (D. Colo. 1997) (approving ex parte filing of supporting documents for defense
27    discovery request, where the documents disclosed portions of defense strategy).
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1           Finally, there is no prejudice to Peter Marco by the filing of an in camera submission
2     regarding defense counsel’s full understanding and knowledge of any criminal
3     investigation relating to Peter Marco’s allegations against the Rechnitz Defendants. This
4     Court is eminently experienced and well-situated to accept and properly evaluate an in
5     camera proffer from the Rechnitz Defendants’ counsel regarding information learned
6     relating to the government’s investigation.
7           Good cause therefore exists to grant this application. The active investigation into
8     allegations involving the Rechnitz Defendants’ jewelry business is fluid, and counsel for
9     the Rechnitz Defendants has learned new, relevant information since the filing of the
10    Motion. The Rechnitz Defendants could not file a noticed motion seeking the relief
11    requested because the Court has already taken the Motion for Stay under consideration for
12    ruling on the paper submissions. By the time a noticed motion could be heard, the issue
13    would be moot.
14          If the Court declines to permit Rechnitz Defendants to submit the Supplemental
15    Declaration in camera, Rechnitz Defendants respectfully decline to file that information
16    publicly and will stand on the record before the Court.
17          For the above reasons, the Rechnitz Defendants respectfully request that the Court
18    grant them permission to submit, for in camera review, a Supplemental Declaration of
19    counsel in support of their Motion.
20                                          Respectfully Submitted,
21    Dated: June 2, 2020                   COHEN WILLIAMS LLP
22
23                                     By: /s/ Marc S. Williams                                    .
                                           Marc S. Williams
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                                           Reuven L. Cohen
25                                         Brittany L. Lane
                                           Youngbin Son
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27                                          Attorneys for Third-Party Defendants,
                                            JONA S. RECHNITZ AND RACHEL RECHNITZ
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               THIRD-PARTY DEFENDANTS’ EX PARTE APPLICATION SEEKING IN CAMERA REVIEW
